     Case 2:13-cr-00008-WFN        ECF No. 3273   filed 01/05/15    PageID.20812 Page 1 of 1




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 4                                UNITED STATES DISTRICT COURT

 5                              EASTERN DISTRICT OF WASHINGTON
 6 UNITED STATES OF AMERICA,
                                                         Nos. 2:14-CR-0047-WFN-1
 7                   Plaintiff,                                    2:13-CR-0008-WFN-28
 8              -vs-                                     ORDER
 9 KEVIN DARNELL MILES,
10                                Defendant.
11
12              Defendant pled guilty in the companion case, 2:13-CR-0008-WFN-28. The Govern-
13   ment agreed to dismiss charges in 2:14-CR-0047-1 following sentencing. Defendant was
14   sentenced to 144 months on January 5, 2015. The Court has reviewed the file and is fully
15   informed. This Order is entered to memorialize and supplement the oral rulings of the
16   Court. Accordingly,
17              IT IS ORDERED that:
18              1. The Indictment in 2:14-CR-0047-WFN-1 is DISMISSED WITH PREJUDICE.
19              2. Defendant's Motion for Downward Departure and/or Variance, filed on
20   December 5, 2014, 2:13-CR-0008-28 ECF No. 3170, is GRANTED.                         The Court
21   sentenced Defendant to 144 months which represented a 91 month variance from the low
22   end of the guideline range.
23              The District Court Executive is directed to file this Order and provide copies to
24   counsel AND TO United States Probation Officer Shawn Kennicutt.
25              DATED this 5th day of January, 2015.
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27                                                  s/ Wm. Fremming Nielsen
28                                                    WM. FREMMING NIELSEN
     01-05-15                                  SENIOR UNITED STATES DISTRICT JUDGE


     ORDER - 1
